                   IN THE DISTRICT/SUPERIOR COURT FOR THE STATE OF ALASKA
                               FIRST JUDICIAL DISTRICT AT JUNEAU
E.S. et al,
                                                                                                                            , .,,. ,--·-,. ,-·-J
vs.
                          Plaintiff,                                                    CASE NO: 1JU-18-00695CI            R     .. I
                                                                                                                              r.,__          • ----


                                                                                                                               MAY 2 3 2018
State of Alaska, Dept of Health & Social
                                                                                                                           Attorney General's Office
Services et al,                                                                                                                         Juneau
                      Defendant.                                       SUMMONS AND NOTICE TO BOTH
                                                                               PARTIES OF
                                                                          JUDICIAL ASSIGNMENT
To Defendant: State of Alaska, Dept of Health & Social Services

You are hereby summoned and required to file with the court a written answer to the complaint
which accompanies this summons. Your answer must be filed with the court at 123 4th Street
PO Box 114100 Juneau AK 99811 within 20 days* after the day you receive this summons.
In addition, a copy of your answer must be sent to:
        Plaintiff's attorney or plaintiff (if unrepresented): Joanna L Cahoon
       Address: 3330 Arctic Blvd 103 Anchorage AK99503
If you fail to file your answer within the required time, a default judgment may be entered
against you for the relief demanded in the complaint.
If you are not represented by an attorney, you must inform the court and all other parties in
this case, in writing, of your current mailing address and any future changes to your mailing
address and telephone number. You may use court form Notice of Change of Address I
 Telephone Number (TF-955), available at the clerk's office or on the court system's website at
https://public.courts.alaska.gov/web/forms/docs/tf-955.pdf, to inform the court.
                                              -OR-
If you have an attorney, the attorney must comply with Alaska R. Civ. P. S(i).
                                  NOTICE OF JUDICIAL ASSIGNMENT
To: Plaintiff and Defendant
This case has been assigned to Judge .:_M:....:Je..=:u=d=e_,_P_,,a=te"'-------------

(SEAL)
                                                                       CLERK OF COURT

          5/17/2018
             Date
                                           By:           - Deputy
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                                                                 ~~-Cva
                                                                  Clerk
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                                                                                    ,._~'-"----'-------
*The state or a state officer or agency named as a defendant has 40 days to file its answer. If you have
been served with this summons outside the United States, you also have 40 days to file your answer.
I certify that on    5/17/18
a copy of this order was mailed or del ivered to:
                                                       ,,, .;,; ,. ......:r.. ,,. ., ......
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                                            ,..
                                                  .;           ,,..,




Clerk:            SCrandall




CIV-100 (10/17)                                                                                           Civil Rules 4, 5, 12, 42(c), 55
        Case
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                                                                            MAY 2 3 2018
                                                                       Attorney General's Office
                                                                               Juneau


                   IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
                          FIRST JUDICIAL DISTRICT AT JUNEAU
                                                                            Filed in the T11;;il Courts .
                                                                      STATE OF ALASl<A. FIRSl DISTHIC I
    E.S. through her guardians Mary and            )                              AT JUNEAU
    Steven Stassel, B.M. through his guardians :)
    Wayne and Sharon Matt.ingly, and K.H.          )                            MAY 10 2018
    through his guardian Robert Howard,            )
    for themselves a.pd others similarly situated, )                    By_ _ YL..;~...!::' - - - - --   Deputy

                                                   )
                           Plaintiffs,             )
                                                   )
    v.                                             )
                                                   )
    STATE OF ALASKA,. DEPARTMENT OF)
    HEALTH AND SOCIAL SERVICES,                    )
    DIVISION OF SENIOR AND                         )                                                              I
    DISABJLITIES SERVICES, and DUANE )
    MAYES, in'his official capacity as             )
                                                                                                                  I
    Division Director,

                           Defendants.
                                                   )
                                                   )
                                                   )
                                                             Case.No. lJU-18- 6i5           CI
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       CLASS ACTION COMPLAINT FORTE~PORARYRESTRAINING ORDER AND
                    DECLARATORY AND INJUNCTIVE RELIEF
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                                            INTRO.D.UCTION
                                                                                                                  Ii
            1.     This is·a civil action for injunctive and declaratory relief brought by E.S. through           I
    her guardians Maiy and Steven Stassel, B.M. through his guardians Wayne and Sharon

    Mattingly, and K.H. through his gnardi"anRobe1t Howard, and those similarly situated by and                   I
                                                                                                                  !
    through their attorneys, the Disability Law Ce_nter of Alaska, against th~ State of Alaska,

    Depa1tment of Health and Social Services ("DHSS"), Division of Senior and Disabilities
                                                                                                                  Ii
                                                                                                                  l
    Services ("SDS'·'), and Director Duane _Mayes, Defendants, for imposing a regulatoty "soft cap"               J

    of 12 hours per week of day habilitation without first obtaining CMS approval, first folfowing
                                                                                                                  I

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       fodetal notice and comment requirements, or first setting up an exceptions process that conforms

       to federal petson-centered planning requirements.

               2.       Medicaid's Home and Community Based Waiver pro\iides seyerely disabled

       Alaskans with services to live 1n thei1' own homes instead of P,rofessionally~run facilities. See

       generally 42 U.S.C. § l396n(c) and AS 47.07.045. Day habilitation is one such service that

       allows.intellectually and developmentally disabled adults access to community settings to build

       self-help, s9dalization, arid adaptive skills. In the. fall of 2017, the defendants, in ah effort to cut

       costs, imposed what they called a 11soft cap" of 12 hours per week of day habilitation per person,

       with an exception for those who are at risk of institutionalization or have a health and safety need

       for the hours. In practice, however, the State has imposed a hard cap, denying vxceptions to the

       plaintiffs ·and 96% of other disabled persons in Alaska who requested hours above the cap.

               3.      The State implemented this cap against the plaintiffs and all othet' similarly

       situated individuals in violation of the Medicaid Act and its implementing Tegulations in three

       ways. First, the cap was ]?Ut into effect six months before getting the necessary federal approval

       to do so as required by 42 C.F .R. § 441.3 04(d). Second, the State failed to provide i;i. meaningful
                                                                                                                      i
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       opportunity' to comment on the proposed waiver amendment as required by 42 C.F.R. .§                           i
       441.304(£). The State did so by misrepresenting the nature of the cap· as "soft,11 misstating the              l
       rule for exceptions (making the exception appear to the public to be much easier to meet), and

       providing notice of the waiver changes 24 days after the regulation went i!ltO effect. Third,·the
                                                                                                                      I
       cap violates the Medicaid Act's person-centered planning regulations, in '42 C.F .R. 441.301 (c),
                                                                                                                      !
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"7 '
                                                                                                                  /   ~
0      by exclusively focusing on rlsk to he;:ilth and sc1fety and risk of institutionalization without
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"i'
.,..
       reference to or considei:ation of other required factors.                                                      I
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             4.      Because the "soft cap" on day habilitation was implemented in violation of the

     Medicaid Act's imp1en1enting regulations, jeopardizes the plaintiffs' health and safety, and risks

     their ability to remain :at home, plaintiffs s.eek declaratory and injunctive relief declaring the cap

     on day habilitaiion violates the Medicaid Act's person-centered planning regulations and

     blocking the State from implementing the hew ''soft cap" regulation. In addition, plaintiffs seek

     to vacate the adverse day habititation action letters sent to all waiver recipients between October

     1, 2017 and the date the State finally lives up to its notice and comment obligations, which has

     not yet happened, or, at worst, March ;20, 2018,.the effective date of CMS' s approval absent.

    proper notice and comment.

                                      JURISDICTiON AND VENUE

            5.      this Court hasjuri'sdiction undetAS 22.10.020 (c) and (g).

            6.      Venue is proper under AS 22.10.030 and Civil Rule 3(c).

                                                    PARTIES

            7.      E.S. is a 21-year-old woman wit)1 autism, limlted ve1:1:ial communication, abiliti•es,

     and substantial behavioral issues who returned to her family home five years ago with the help of

    services available under the Intellectµal and Developmental Disabilities (IDD) waiver. As a

    result of the day habilitation cap, SDS has attempted to cut her day habilitation homs by 22.5

    hours per week. SDS's depision against E.S. was issued before March 20, 2018.

            8.      B.M. is a 45-year-old man with an inteIJectual disability., autism, and bipoiar

    disorder who is non-verbal. As a result oftbe day habilitatio:i:l cap, SDS has attempted to cut hls

    day habµitation11ours by 8 hours per week. SDS's decision against B.M. was issued 'before

    March 20, 2018.

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             9.     K.H. is a 58-year-old man, who is nonverbal and experiences autism as well as an

     intellectual disability. As a Tesult of the day habilitation cap, SDS has attempted to cut his day

     habilitation hours by 8 hours per week. SDS's decisioh agairistK.H. was i$s:ued before Match

     20,2018.

             10.    The Division of Senior and Disabilities Services (SDS) is the agency within the

     Alaska Department of Health and Social Services that administers the Medicaid Wai'ver

    programs, specifically, the Intellectual and Developmental Disabilities waiver.

            11.     Defendant Duane Mayes is "the Director of the Division of Senior apd Disabilities

     Services and he is sued in his official capacity.

            12.     This Complaint refers t:o the defendants co_llectively as ''the State.';

                                         FACTUAL ALLEGATIONS

    A.      Federal Medicaid Law

           13.      The Medicaid Act, Title XIX of the Social Security Act, 42 U.S . G. §§ 139() et

    seq., authorizes federal financial suppo1t to states for medical assistance to low-income people

    who are aged, blind, disabled, or members of families with dependent chilqren. The f~deral and

    state governments jointly fund Medicaid benefits. States administer Medicaid under federal

    standards, typically set out in federal ,regu1ations, by defining eligible beneficiaty groups, types

    and ranges of services, payment level for services, and administrative rules.

           14.      Section 1915(c) of the Social Security Act, 42. U.S.C. § 1396n(c), permits a state

    to waive.certain Medicaid requirements in order to fumish an.array of home and comrnunity-

    ba.sed services (HCBS) that promote community living for Medicaid beneficianes who would

    otherwise be qualified to get care.through a nursing home or other institutional facility.


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            15.     To implement a home and community-based waiver, a state must submit an initial.

    waiver application to the U.S. Center for Medicare and Medicaid Services (CMS), acting on

     behalf of the Secretary of Health and Human Services, describing the waiver program design and

    how it will meet stat1.1tory and regulatory requirements.

           16.                                                                         a
                    Mer the initial three-year approval period, each state operating waiver m11st

    submit a five-year waiver renewal -application.

           17,      A state must implement the waiver as specified in the approved application.

           18.      If the state wants to change the waiver whUe it is in effect, it must submit an

    amendment to CMS for its review and approval. If the amendment affects substantive 1ights, a

    state must not implement it until after the state has obtained.federal approval.

    B.      Updates to Federal Medicaid Regulations in 2014


            19.     In 2014, CMS issued a new regulation (42 CFR §441.30l(c)(l) et seq}fhal

    requires all Medicaid-funded services be _ptovided in settings that exhibit home and community:..

    based characteristics and do nQt isolate recipients; the regulation highlights the need for

    opportunities to engage in cotninunity life, have full access to benefits of community living, and

    oppo1tunities to receive services in the community to the same degree as people who do not

    receive home and comrmmity based services.

            20.     The new rules ensure that states t1se horne and community-based·services waiver

    funding for programs that h-uly work to integrate people with disabilities. into the community at

    every oppmtunity.

            21.     Jhe 2014 regulation also requires a "person.-centered service plan"-for each

    recipient, which tefiects the services and supports that are irnpo1tant for the individual to meet

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    the needs identified through an assessment of functional need, as well as what is important to the

    individual with i"egard·to pteferences for the delivefy of such services arid supports.

    C.      Alaska's Home and Community Based Waiver Program

            22.     The Alaska Legislature has implemented this state's Medicaid program so that

    ' 1needy persons of this state   who are eligible for medical ·c are at public expense ... should seek
    only uniform and high~quality care that is appropriate to their condition and cost-effective to the

    state and receive that care, regardless ofrace, age, national origin, or economic standing." AS

    47.07.010.

            23.     Alaska's HCBS 1915(c) waiver programs, includingtheintellectual and

    Developmental Disabilities (IDD) Waiver, support the indep~11dence of Alaskans who

    experience physical or developmental disabilities by providing service~ in their home~ and in the

    corpmuriity rather than in an institution such as a nursing home.

            24.     The goal ofthe IDD Waiver is to provide effective home and community-based

    supports in the amount, duration, scope, and frequency that will allow individuals to live as

    independently as possible in integrated community settings,

            25.     The Alaska Department of Health and Social Services (DHSS) admini·sters the

    waivers, and the DHSS Division of Senior imd Disabilities Services (SDS) operates the waivers.

            26.     Applicants access the waiver via private SDS-certified care coordinators who, in

    coordination with the individual and other team members, dr~ft annu,:tlPlans of Care detailing

    what \-Vaiver and other services are needed to maintain-t he health and safety of the recipient and

    allow them to remain in their own home.




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              27.     SDS is responsible for exercising routine oversight of the Plan of Care to ensure

     that plans address assessed clinical and suppoii needs; reflect the recipient's strengths and

     preferences for delivery of setvices and suppo1ts; ide11tify the. elements important to the recipient

     to achieve the qi.1a!lty of life the recipient Wishes; including the recipient's goals and desired

     outcomes; identify the services an<;l supports, paid and unpaid, that will assist the recipient to

     achieve the recipient's goals and desired outcomes; identify the providers of services and

     supports; id,entify the amount of services ne~ded; document the servfoe options considered by

     the recipients; disct1ss iisk factors; and identify the people responsible for plan monhoring.

             28.      SDS-certi:fied home and community-based provider agencies deliver the services

     in the plan of care that are approved by the State.

     D.       Recent Limitations on Waiver Day Habilitation Senrices

             29.     Prior to the fall of 2017, SDS. used a soft 15 hom per week cap on day habilitation

    for recipients in group homes and no cap on day habilitation for recipients li:ving in their own

    homes.

             30.     On April 12, 2017, SDS is~ued public notice of its intent to amend state

    regulations to implement cost containment measures; these proposed measures included new

    Jimits on day habilitation services based on average use of services across the state.

             31.     The proposed regulation provides for a cap on day habi.litation services with a

    two-pait exception: "The depa.rt.m ent will rtbt pay for mote than 624 homs per year of any type

    of day habilitation: services from all providers combineq, unless the department approv_es a

    limited mtmber of additional day habilitation hours that wer:e (1) requested in a recipient's plan of




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    care; and (2,) justified as necessary to (A) protect the recipient's health and. safety; and (B)

    prevent institutionalization."

            32.    Proposed changes to 7 AAC 13Q.260(c) including the 12-hour cap oh day

    habilitation were operi for public .c omment between April 12, 2017 and June 15, 2017.

            33.     42 CFR 441.304(£)(2) provides that ''[a] request for ail amendment that involves a

    substantive. change as determined by CMS, may only take effect on or after the date when the

    amendment is approved by CMS."

            34.     Although CMS had yet to approve amending the IDD waiver to include service

    Hmits on day habilitation, on October 1, 2017, SDS began reviewing plans of care in accordance

    with 7 AAC 130.260(c), requiring recipients to prove ,b oth health and safety necessity and risk of

    institutionalization to receive day habilitation hours above the 12-hours-per-week "soft cap."

            35.     42 C.F.R. §441.304(:f) requu.:es States to usc a public input process for "any
                                                                                                            I
    changes in the services or operations of the waiver" and requires that the process "be completed
                                                                                                            I
    at a minimum of 30 days p rior to implementation of the proposed change or Sl.\bmission of the

    proposed c1iange to CMS, whichever comes first."
                                                                                                            I
            36.     Although the "soft" cap had been in effect for 24 days 1 on October 24, 2017, SDS
                                                                                                            i
                                                                                                            '
                                                                                                            i
    published public notice of the proposed waiver amendment and opened public comment on the               ~
                                                                                                            i
                                                                                                            I
    proposed amendmentthroughNovember27, 2017.
                                                                                                            I
            37.     In its October 24, 2017, public notice of the prop.osed IPD Waiver amendment,           l
                                                                                                            t
    SDS provided for the 12-hotir cap, but identified an either-or exception: "This waiver

    amendment places limits on fhe amount of day habHitation ~ recipient can receive in one year....

    The cap 1s 'soft' mthat the regulation allows approval in excess of the limit when requested for


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     individuals who are at risk of institutionalization within 30 days, 01· who have health and safety

     requirements affected by the Jimit, ifjustified in a plan of care or amendment." ( emphasis

     added) .

                38.    Under this written proposal, a waiver participant may receive hams above the cap

     if either one of two conditions apply: ( 1) the individual is at risk ofrapid institutionalization 01·

     (2) the individual has health and safety requirements affected by the limit - instead of both like

     the state regulation.

             39.       Although, 42 C.F:R. §441.304(£) requires States to use a pubiic input process fol'

     any waiver changes and "ensure meaningful opportunities for input. . .-" tbe written proposal

     presented to the public did not conform to the state regulation as written or as applied by SDS.

             40.       On January 4, 2018, SDS applied to CMS to amend its IDD waiver to approve the

     ••so.ft'' cap that it had already institu~ed through regulation.

             41.      · In February 2018, Duane Mayes, Director of Senior and Disabilities Services,

     presented at the annual A laska Association on Developmental Disabilities meeting. Mr, Mayes

     reported that, as of the time of the Febrnru:y meeting, there had been 116 plan of care requests for

     day habilitation services over the cap since 7 AAC 130.260(c) had gone into effect and SDS had

     issued denial letters in all but. 5 cases. 1n other words, in1ph,mentation of the ''soft" cap resulted

     in a 96% denial rate for applicants seeking day habilitation hours above-the cap.

             42.       On Ma,rch 9, 2018, SDS informed CMS it had changed "or'' in the ex.ception to

     the day habilitation cap to "and" to "comport with regulatory language.1' CMS did not object to

     the change. The conespondence does not include a discussion of whether the enor was

     substantive.


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              43..    SDS did not give public notice regardingthe al1eged1y tnisfakert inclusion of "or';

      in the original waiver amendm:ent application and public notice announcement or the subsequent

      revision of the amendment to include ''and."

             44.     On March 20, 2018 1 nearly six months after instituting the "soft'' cap, CMS

      approved the State's amendment.of the IDb waiver: The approval letter does not identify

      approval of any particular exception to the cap.

     E.      Fa.cts Related to Plaintiff E.S.

             45.     £.S. is a 21-ycar-old woman who experiences autlsm. E.S. requires 1:1

     supervision because she lacks judgment to protect herself from hazards, becomes anxious easily

     (resulting in severe behavioral outbursts), and has limited communication abilities. E.S. needs

     assistance communicating with others because she normally only communicates \vith trusted and

     familiar people such as her family and long -te1m servtce providers. However, when E.S. is
                                                   0




     anxious or fiustrated she cannot communicate her needs evento those closest to her. For E.S.,

     increased anxiety can mahifo,t in meltdovros ~md aggression as demonstrated by her increased

     undesirable behaviors in 2011 that culminated in E .S. 's admission to API and, because her

     family could no. longer control her behavior, subsequent trnnsfer to the National Deaf Academy.

             46,     Since August of 2012, E.S. bas been successfully integrated into the community,

     living at home with her parents and receiving direct services including supported living, respite,

     and day habilitatiqrt. E.S. continues to tely oh 1 :1 supervision for her activities outside the hom e

     which include rui classes, walks, d1ives with music, horseback riding, going to the gym, and

     bqwling. These activities were developed"in collaboration with the Complex Behavior

     Collaborative, Applied Behavioral Amilysis therapists, and mental health professionals to help


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      relieve E.S:'s stress and anxiety. Her time out in the community is critical because, when E.S.

      feels bored and alone at home, her anxiety increases.

             47.     On Jamlaty 9, 2018, the Division isSt!e<;i an Adverse Actioh letter informing E.S ..

     that her day habilitation services would be cut from her previous 22.5 hours per week to just.12

     hours per week, including transportation, With no altemative service provided to coverihat time;

     as a result of the new regulation. The letter states in part that "[w]hile the division acknowledges

     that [E.S.] benefits from engaging in day habilltation activities arid maintaining her daily routine,

     the [Plan, of Care] does not demonsJrate why the additional 22.5 hours per week for 52 weeks of

     Individual Day' Habilitation are neces·sarYto protect [E.S.'s] health.and safety and prevent

     institutionalization." [Exhibit 1, at 2].

             48.     E.S. appealed, and her fair hearing is pending before the Office. of A.dministrative

     Hearings.

     F.     Facts Related to Plaintiff B.M.

            49.      B.M. js a 45-year-old man with an intellectual disability, autism, and bipolar

     disorder who is non-verbal. B.M. requires 1: 1 supervision when out iu the comrtmnity because,

     when he is over stimulated, B.M.' s behavior may become erratic, impulsive, and hyperactive.

     For example, when experien.cing a rnanic phase, B.M. may bolt from his environment,

     potentially physically assauiting anyone near his escape route. In the past, B.M. has been

    institutionalized dµe to his tendency to act put against others when over stimulated.

            50.     B.M. has lived with the .same family habilitation provider since 1997 and has

    lived in his current group home.since 2010. Becaus·e B.M. tequires 1:1 supervision, B.M.;s group




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       home provider cannot take B.M. and his roommates out in the community. In order to access the

       community, B.M. relies oh.his day habilitation providers from Hope Community Resnurces.

              51 .    As anxiety medications have limited effectiveness for B.M., his symptoms are

       partially controlled by physical activity and day habilitation activities including equine theni.py;

       swimming, church activities, walking and v isiting coffee shops.

              52.     For several years, B.M. received 20 hour~ of day habilitation. In their most recent

       Plan.of Care, B.M. ;steam again requested 20 hours of day habilitation and explained· that, in the

       team's assessment, B.M. would require institutionalization without his C\lrrent kvel of services.

       The Plan of Care included a letter of support fr.om a treating physician explaining that even a

       slight reduction in day habilitation would inevitably 1ead to the potential for B.M. to hann

       himself or others.

              53.      On Febrnary 12, 2018, the Division issued an Adverse Action letter informing

       B.M. that his day habilitation services would be cut from 20 hours per week to 12 hours per

       week. The letter ·states "[B.M. 's] tea,m is requesting Day habilitation in excess of the regulatory

       cap and has not demonstrated that the request meets the regulatory reqqirement. .. '' [Exhibit 2, at

       2].

              54.     B.M. appealed, and his fair hearing is pending before the Office of Administrative

       Hearings.

       G.     Facts Related to PlaiutifOCH.

               55.    K.H. is a 58~year-old man that experiences an intellectual disability as well as
 ij
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       autism. After bejng jnstitµtionalized as a child, K.H. stopped speaking. He has not spoken since
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 ...
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       he was 12 years old.


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              56.     K.H. moved in with his cunent family habilitation provide!' in 2006 and he no.w

      lives with othei• 1ndividua1s that ex,p.erience disabilities. Before moving info his cuiTen:t home,

      K.B. exhibited signi;fi.cant self-hatming behaviors such as bangiri.g:his head against walls and

      isolating himself to a degree that was detrimental to his mental health, Since moving into his

      cun'ent home, K.H. has become more social but he still spends a substantial amount of time

      alone and tends towards activities such as habitually rearranging pictu:i:·e car<!s.

             57:     K.H. worked foi' years and he enjoys going out into the community where he has

     opportunities to walk and work on.his social skills whi1e grpcery shopping, meeting :&fonds and

     going to coffee shops. In the last year, K.H. has experienced a reoccmrence ofsome of his self~

     haiming behaviors such f!S. bending bis fingers back when frustrated. K.H. 's care team feats that

     he ni.ay regress· to other past behaviors should his time in the community be reduced.

             5 8.    Because K.H. requires 1: 1 supervision when out in the commtmity, it is difficult

     for his group home provider to take K.H. on outings with the other grot1p hoi:ne residents. K.H.

     relies on his day habilitation provider to access the community because he has a tendency to

     engage in inappropriate behaviors such as approaching strangers to feel the texture of their

     clothing and grabbing things that do not belong to him. In. addition, K.H. does not like loud

     noises or to be startled or touched. To safely interact in the commi.mity, K.H. requires an

     experienced provider that can interpret his non-verbal cues indicating elevated an,'<iety.

             59,     On January 26, 2018, the Division issued an Adverse Action letter inf01ming K.H.

     that his day habilitationservices would be cut from his previous 20 hours per week to 12 hows

     per week a$ a result ofthe·new regulation. The let.tei' states that requesting hours above the cap

     because "[K.H.] always has the.potential to regress to past behaviors without the supports he


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      receives, as the behaviors can only be managed to become latent~ and ·a1:e not cured,'' did not

      "adequat¢ly explain how additional hours are necessaty to protect the recipient's health and

      safety and prevent institutionalization." [Ex:hibit 3, at 1-2]. Although the Jetter acknowledges the

      POC's statement "that the home does not allow for [K.H. 's] provider to take [K,H.J out with his

     .housemates," it inexplicably concludes "there is an expectation that the home provider is also

      providing opportunities for community integration .... it is the provider's responsibility to

      st.J.'Uc.ture the home to meet the needs of ail recipients, including one-to-one time in the

      community'." [Exhibit'J, ~t 2].

              60.    K.H. appealed, and his fair hearing is pending before the Office of Administrative

     Hearings.

                                      CLASS ACTION ALLEGATIONS


             6l.      Pursuant to Alaska Rules of Civil Procedure 23(a) .µ-id 23 (b)(2), Plaintiffs bring

     this action on their ovvn behalf, and on behalf of all others similarly situated. The purported

     class, which these Plai_ntiffs represent, is composed Qf all Alaskans who qualify or may qualify

     for services under the IDD waiver, and who heed· or may need day habilitation in excess of 12

     homs per week.

             62.     The persons in this purported class are so numerous that joinder of rill such

     _persons is impracticable. Hundreds of Alaskans qualify for services under the IDD waiver mid

     crnTently receive day habilitatiop_ services and,_as of February 2018, at least 111 Alaskans have

     applied for and been denied day babilitation services exceeding 12 hours per week.

             63.     There are issues of fact and questions of law common to the class. The common

     "legal issues 'include, bi1t are notlim.ited toi the follpwing:


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                       A.     Whether the State had authority to operate the 12-hour c:ap on day

              h~bilitation bef9re March 20, 2018, when CMS gave approval for the State Plan

              Amendment.

                       B.     Whether the State properly provided.public notice and comment regarding

              its change in the exceptions process for the 12- hour cap on day habilitatipn as required

              by federal regulations.

                       C,     Whether the 12-hour cap on d<!y'habUitation is consis_tent with the federal

              person-centered planning reguiations.



                    FIRST CAUSE OF ACTION: VIOLATION OF 42 C.F.R. § 441,304(d)(2)

              64.     Plaintiffs reallege .and incorpo~·ate herein by referehce all allegations set forth

     above.
                               1
              65.     Plaintiffs. right to receive the Medicaid Waiver benefits to which they are entitled

     is a right secured by the laws of the UnitedSt.ates, including, but not limited to. the Medicaid

     Act.

              66.     In violation of 42 U.S.C. § 1983, defend~nts have subjected plaintiffs to the

     deprivation of their rights under color of a statn:te or regulation.

              67.     42 C.F.R. §441.304(d)(2) states that, with regard to state Waivetplans, 5 'A request

     for an amendment that involves a substantive change as determined by CMS, may only take

     effect on or after the date when the amendment is approved by CMS, and must be accompanied

     by information on how the State has assured smooth transitions find :minimal effect on

     inpividuals adversely impa9ted by the change,."


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              68.     Subsection (d)(.1) defines substantive as including but not limited to: 1'revisions to

      services ;:rvallable under the wa'i:ver including elimination or reduction of services, or reduction in

      the scope, amount, and duration of any sel'vice, a change in the qualifications of service

      providers, changes in rate -methodology or a constriction in the eligible population."

              .69.    On,Qctoberl, 2017, 7 AAC 130.260(c), limiting dayhabilitation·services, went

      into effect. [Exhibit 1, at 2]. The regulation pravid~: "The department will not pay fonnore

      than 624 hours per year of any type of day habilit.a tion services frorn all providers combined,

      unless the department approves a limited numbet of aqditional day habilitation hours that were

      (1) req1iested in a.reciplent's plan.of care; and (2) justified as necessary to (A) protect the

      recipient's health and safety; and (B) prevent institutionalization." (emphasis added).

              70.     According to CMS, SDS did not submit an application to arnerid the IDD waiver,

      in part to include the so'ft cap the Stat.e had ah·eady institutt;:d, until January 4, 2018. [Exhibit 4, at

      1]

              71.     SDS's amendment application, as posted for public notice, states: "This waiver

     amendment places limits on the amount of day habilitation a recipient can receive in one year .. .

      The cap is 'soft' in that the re~ulation allows approval in excess of the limit w.hen requested for

      individuals who are at risk of institutionalization within 30 days, or who have heaith and safety

     requirements affected by the limit, if justified in a plan of care or amendment." [Exhibit 5]

     (emphasis added).

             72.      On March 9, 2018, .SDS informed CMS it had changed "or" in the exception to

     the day hab.ilitarion cap to ''and" in order to "corp.port with :regulatoi'y language." CMS did not




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      object to the change, [Exhibit 6, at 1]. The c01Tespondence does not include a discussion of

      whether the error was substantive.

               73.      On, March 20, 2018 - si,-x months.after the changes i~ciuded in 7 AAC 130.260(c)

      went into effect - CMS approved the amendments. [Exhibit 4, at 1] .

              . 74.     By enforcing a service limit on day habllitati:on th1'ough state regulation prior to

      CMS approving that change to the state's IDD waiver plan, the State violated 42 C.F.R,

      §441 J04(d)(2) and the Medicaid Waiver statute.itself, 42 U.S.C. § l396n(c).

               75.      As direct beneficiaries of the IDD waiver program, plaintiffs and those sbnilarly

     situated have suffered hann as a result of the state hnposing. a service limit to day habilitation

     prior to CMS approval.

               76.      Plaintiffs and all other similarly situated individ11als ·with reduction rtotices issued

     prior to CMS approval March 20, 2018, are entitled t.o have their day habilitation reductions

     vacated.

                      SECOND CAUSE OF ACTION: VIOLATION OF 42 C.F.R. § 441.304{f)

               77.      Plaintiffs reallege and incorporate herein by reference a11 a,11egations set forth

     above.

               78.      Plaintiffs' right to receive the Medicaid Waiver benefits to which they are entitled

     is a right secured by the laws of the United ·states, including, but not limited to, the Medic1;1id

     Act.

               79.      1n violation of 42 U.S.C. § 1983, defendants have subjected plaintfffs to the·
     deprivation of their rights under colOl' of a statute or regi1iat10n.

               80.      42 C.F.R. §441.304(:f) states:


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                     The agency must establish and use a public.input process, for any changes in: the
                     services oroperations of the waiver.                                  ·

                     (1) This process must be described fully in the State's waiver application and be
                     sufficient in light of the scope of the changes proposed, to ensure meaningful
                     opportunities for input for individuals served, bi' eligible to be served, in the
                     waiver.

                     (2) This process must be completed at a minirn.t1m of~0 days prior to
                     implementation of t:he proposed change or submission of the proposed change to
                     CMS, whichever comes first.

                     (3) This process must be used foi· both existing waivers that have substantive
                     changes proposed, ·either through the renewal 01· the amendment process, and new
                     waivers .. .
             81.     Subsection (d)(l) defines substantive as including but not limited to: ''revisions to

      services available under the 1vaiver including·elimination or teduttion bf services; or reduction in

      the scope, amount, and duration of any service; a change in the qualifications of service

     providers, changes irt rate methodology ·or a constriction in the eligible population."

             82.     On October 24, 2017,.24 days after the "soft" cap went into effect,. SDS published

     public notice of the proposed wa1ver amendment. SDS opened p11blic comment through

     November 27, 2017. [Exhibit 7, at 2]

             83.     In its public notice, SbS included a copy of the proposed amendment, reading:
     "The cap is 'soft' fo that the regulation allows approval in excess of the limit when requested for

     individuals who are at risk of institutionalization within 30 days, or who have health and safety

     requirements affected by the limit, if justified in a p'lan of care or amendment. i. [Exhibit 5]

     (emphasis added).

             84.    In February 2018, Duane Mayes, Director of Senior arid Disabilities Services,

     presented at the annual Alaska Association on Developmental Disabilities meeting. Mr. May'es



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      reported that, as of the time of the February n:ieeting, there had been 11.6 plan of care requests for

      day habilitation services dver the cap since 7 AAC 130.260(c) had gone into effect. .Mr. Mayes

      reported that SDS had issued denial letters in all but 5 cases - amounting to a 96% deniahate for

      applicants seeking day habilitation hours above the «soft" cap. [Exhibit 8, at 4].

                85.   The final vei•sion of the State's CMS waiver amendment application, dated March

      9, 2018 states, "[t]he proposed amendments to Alaska,'s four approved waivers g~net·ated no

      riublic comment.'' [Exhibit 9]

                86.   By providing notice after the cap went into ~ffect, nrischa:facterizi:ri.g the nature of

      the cap as "soft," and substantively misstating the requh-ement for exceptions to the cap in its

      public notice announcement, the State faHed to ensul'e meaningful opportunity for input for

      individuals served, or eligible to be served, by theIDD waiver. The State thus violated 42,

      C;F.R. §441.304(d)(2) and the Medicaid Waiver statute itself, 42.U.S.C. § 1396n(c).

                87.   As direct beneficiaries of the IDD waiver program, plaintiffs have suffered haim

     as a result of the state substantively amending its waiver plan without following public notice

     and comment requirements to ensure meaningful opportunitie~ to comment.

                88.   Plaintiffs and those similarly siti.iated are entitled to a temporary injunction and

     declaratory and injunctive relieffrorn implementation ofthe arne.n ded waiver absent proper

     notice and comment.

         TIITRD CAUSE OF ACTION: VIOLATiON OF 42 C.F.R. § 441.301(c)

                89.   Plaintiffs reallege and incorporate herein by reference a11 allegations set forth

     abc,JVe.




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              90.       Plaintiffs' right to receive the Medicaid Waiver benefits to which they are entitled

      is a right secured by the laws ofthe Vnited States, mduding, bl1t not limited to, the Medicaid

      Act.

              9L        In violation of 42 US.C. §.1983, defendants have subjected plaintiffs to the

      deprivation of their rights under color of a statute or regulation.

             92.        42 C.F.R. §.441.301(c)(2) states:


             The Person-Centered Service Plan, The persort centered service plan must reflect the
                                                                 0




             services and supports that are imp01ia.nt for the individual to me~t the needs identifiecl
             through an assessment of functional need, as well as what is important to the individual
             withregard to preferences for the delivery of such servic.es and supports. Commensurate
             with the level of need of the individual, and the scope of services and supports available
             under the State's 1915(c) HCBS waivet, the written plan.must:

                    (i) Reflect that the setting in which the individual resides is chosen by the individual.
                    The State must ensure that {he setting chosen by the individual is integrated in, and
                    supp01is full access. of individuals receiving Medicaid HCBS tci the greafer
                    community, including opportunities to seek employment and work in competitive
                    integrated settings, engage jn community life, control personal resources, and 1·eceiye
                    services in the community·to the same degree of access as individuals not receiving
                    Medicaid HCBS.

                    (ii) Reflect the individual's strengths and preferences.

                    (iii) Reflect clinical and s11pport needs as identified through an assessment of
                    functional need.

                    (iv) Include individually identified goals and desired outcon;ies.

                   (v) Reflect the services and supports (paid and unpaid) that will assist the individual
                   to ·achieve identified go.als, a:nd the providers of those services and supports, including
                   natural supports. Natural supports ate unpaid supports that are provided voluntarily to
                   the individual in Iie11 of l915(c) HCBS waiver services ap.d supports.

                   (vi) Reflect ri~k factdrs and measlrres in place to minimize them, including
                   ind\vidualized back-up plans and sttategies whe·n needed.



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                   (vii) Be understandab.le to the individual receiving services and supports, ·and the
                   individuals important in supporting him or her. At a minimum, for the written plan to
                   be understandable, it mtlst be wdttert·fo.plain language and in a tnanner that is
                   accessible to individuals with disabilities and persons who are limited English
                   proficient, consistent with§ 435.905(1?) o'ftbfa·chapter,

                   (viii) Identify the individual and/or entity responsible for monitoring the plan.

                   (ix) Be finalized and agreed to, with the fufoimed consent of the individual in writing,
                   and signed by all indivi!iuals and providers re;,ponsible :fodts impiernentatlon.

                   (x) Be d1stributed to the individual and other people involved in the plan.

                   (xi) Ind.ude those services, the purpose or control ofwhich the individual elects to
                   self-direct.

                   (xii) Prevent the provision of unnecessary or inappropriate .services and suppolis.

                 (xiii) Document tbat <J.ny modification of the additional conditions, under paragraph
                 (c)(4)(vi)(A) through (D) of this section, must be supported by a: specific assessed
                 need and justified in the person-centered service plan. The following requirements
                 must be documented jn the person-centered service plan:

                          (A) Iden.tify a specific; ,a nd individualized assessed need.

                          (B) Document the positive interventions and supports used prior to any
                          modifications to the person-centered service plan.

                          (C) Document less intrnsive methods of meeting the need that have been tried
                          but did not work.

                          (D) Include a clear description of the condition that is directly proportionate to
                          the spedfic assessed need.

                          (E) Indt1de a tegt1lar collection and review of dat.a to intjisure the ongoing
                          effecti:Veness of the modification.                                           ·

                          (F) lnclude established time limits for periodic reviews to defonnine if the
                          modification is still necessary or can be tetmina.ted.

                          (G) Inclucle inform.ed consent·oftl:ie individual.




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                          (H) Include an assurance that interventions and supports will cause no harm to
                          the individual. (emphasis added)

              93.     On March 2, 2018, SDS replied to a set or questions posed by CMS (referred to as

     an RAl) regarding the waiver amendments. [Exhibit l 0, at 1]. One question states in part

     " ... what steps wiil the state take to ensure that the individual's needs can be niet within the

     1imit77' SDS's reply did nQt address how individual needs would be met, rathe:i: SDS explained

     how the Department airived at the 12-hour cap and states theDepartment's expectation ~hat ''the

     soft cap is unlikely to affettrnost recipients." [Exhibit i 0, at 5].

              94.     Under the person-centered planning regulations, services such as day habilitation

     must be .provided with reference to a person-centered plan,. which includes considerations far

     beyond simply health, safety, and the risk of institµtionalization.

              95.     As direct beneficiaries of the IDD waiver program., plaintiffs have suffered hann

     as a result of the state imposing limits on day habilitation that are not aJlowabl~ as a matter of

     pel'son-centered planning. The State has violated 42 C.F.R. §441.3 02(c) and the Medicaid

     Waiver statute itself,42 U,S.C. § 1396n(c).

              96.     Plaintiffs and those similarly situated are entitled to a temporary injunction and

     declaratory and injunctive relief from implementation of the amended waiver absent exceptions

     that embody person-centered planning princ~ples.

                                                 REQUEST FOR RELIEF

     WHEREFORE, the plaintiffs pray for the following relief ru:id remedies fron.1 the Court:

                       L Assume jurisdiction over this ·a9tion and maintain continuing jurisdiction until
                           defendants are in full compliance with every order of this Comt;


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                     2. Vacate all day habilitation adverse action letters sent to waiver recipients

                         between October 1, 2017 and whatever future date the State perfects n0tice

                         and comment as required by the Medicaid Act and its implementihg federal

                         regulations. Alternatively, vacate all day habilitation adverse action letters

                         sentto waiver red.pien ts between October 1, 2017, and March 20, 20 i 81 the

                         date CMS approved the w<c1iver.amendments;

                     3. Declare that the Depi:u:tment's "soft cap" regulation as set forth above violates

                         the Medicaid Act's person~centered planning regulations.

                     4. Grant a temporary restraining order and per:tnanent injunction under Civil

                         Rule 65 enjoining defendants, theii: of.ficers, agents, employc:jes, atto(·neys, and

                         all persons who are in active concert or participation with them from

                         l:to.plementing the "soft cap'; in 7 AAC 13D,260(c); and

                     5. Grant plaintiff the costs of this action and reasonable attorney's fees, and all

                         other and fmiher relief as the Coint deems to be just and equitable.

     DATED: May _l_, 2018                           Respectfully submitted,

                                                                                  __ ..-.,    ✓




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                                       c..._                                ~    p           ---..
                                                       / Joa a ahoon (ABA#l4050)- )
                                                    ----,.-r,«r . R 'n (ABA #840908-I)
                                                         Disability Law Center of Alaska
                                                         3~30 A.J.·c~ic Blvd., Ste.103
                                                         Ancheirage, AK 99503
                                                         Telephone: 907-56§-1002
                                                         Facsimile: 907-5.65-1000




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                                                                        SU.PERIOR COURT JbJIJGE           f<TT1

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              THE STA'tE                                                                     Department of
                                                                                 Henlth and Soch1l Services
                0
                 1ALASKA                                         SENIOR AND DISABILITIES SERVICES
                                                                                            Director's Office
                    GovERl'lOR HrLL WALKER

                                                                                           550 W 8111 Avenue
                                                                                      Anchorage, AK 9950 l
                                                                                        Main: 907.269.3666
                                                                                     Toll free: 800.478.9996
                                                                                          Fax: 907.269.3688


                                                                      January 9, 2018

                                                        CERTIFIED MAIL I RETURN RECEIPT
                                                                7016 2710 0000 2760 0720




 RE:-
 Subject: Denial ofIDD Home and Community Based Waiver Service

                               DOB: 3/26/1997




 I am writing regarding the Plan of Care renewal submhted   onJIIIIIIB behalf for services funded under
 the Intellectual and Developt1lental Disabilities (IDD) Medic~e and Community Based Waiver.
 On 12/14/2017 Senior and Disabilities Services (SDS) received the proposed renewal that is attached. for
 your review. The following services will be approved as requested:

 Approved

    1. Supported Living: 5,268 unlts (approximately 25 hours per.week, 52 weeks)
    2. Individual Day Habi1itation: 2,496 units (apprnximately 12 ti.ours_per w~ek, 52 weeks)
    3. Agency Based Daily Respite: 14 units (14 days over 52 weeks)

 Senior and Disabilities Services (SDS) denies the following item(s) under the authority of 7 AAC .
 130.217 and 7 AAC 130.260.

 Denied

    1. Individual Day Habilitation: 4,690 units ( approximately 22.S hours per week, 52 weeks)

 Regulations can be fou nd at: http://dhss.alaska.gov/dsds/Pages/regu1ationpackage.aspx..

                                          ,,




                                                                                         EXHIBIT_!_
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 The proposed renewal presents a request for about 35 hours per week for 52 weeks of Individual Day
 Habilitation, about 25 hours per week for 52 weeks of Supported Living, and 14 days over 52 weeks of
 Agency Based Daily Respite.

 Effective October 1, 2017 per regulation 7 MC 130.260(c), "the department will not pay for more than
 624 hours per year of any type of day habilitation services from all providers combined, unless the
 Department approves a limited number of additional Day Habilitation hours that is requested in a
 recipient's plan of care and justified as necessary to protect the recipient's health hand safety and to
 prevent institutionalization." An E-alert was sent out Monday, September 11, 2017 regarding this
 change.

  According to the narrative presented in her POC renewal,. continues to reside in a safe and loving
  environmeritwith her parents, "she continues to Jive in her parent's home in Anchorage. She shared that
  she loves her home and family, and would like to continue to Jive there as long as she can" (page 9). The
  narrative in the POC renewal emphasizes-· challenging behaviors resulting from changes or
  interruptions to her routine, as the reasons fo requesting the previously approved level of Day
  Habilitation. According to the POC renewal,           has been stable and has made progress managing
· her anxieties and .frustrations to routine changes. "      has matured. over this past plan year. She is
  learning to communicate her needs, desires, and anxiettes in real time" (page 15).

 While the division acknowledges that. .benefits from engaging in Day Habilitation activities and
 maintaining her daily routine, the POC does not demonstrate why the additional 22.5 hours per week for
 52 weeks of Individual Day Hnbilitation are necessary to protectlllllllllfhealth and safety and prevent
 institutionalization. . .has a strong natural suppo1t and she regularly attends the ACE/ACT program
 where "she looks forward to participating daily. and they too are happy with her progress and attendance"
 (page 9).

 Additionally, the POC presen~porting info1mation as to w h y - is unabl~ to benefit from
 other community resources. -             overall apptoved level of service, combined with natural,
 educational, and other community supports is of sufficient amount, scope, and duration to meet her needs
 and achieve the intent of the POC as presented. Therefore, the request for the additional 22.5 hours per
 week for 52 weeks of Individual Day Habilitation service over the 12 hours per week allowable by
 regulation are denied due to regulatory compliance and lack of sufficient supporting inform~tion.

 If you disagree with the decision outlined above, you have the right to appeal the decision. More
 information about requesting a fonnal appeal and the· fair hearing process can be found
 at: http://dhss.alaska.gov/dhcs/Documents/pub1ications/Fair Hearings.pd[ · Please see the Department
 of Health and Social Services Notice of Recipient Fair Hearing Rights document enclosed with this letter
 for contact information on how to schedule a fai.r hearing to appeal this declsion.

                                                      Sincerely,

                                                      r1,· ~
                                                      E~Haroun Q.LD.P, BSW, MBA
                                                      Health Program Man.ager I
                                                      Senior and Disabilities Services (SDS)

 Enclosures: Plan of Care/Pan of Care Amendment

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                                                                                      Page     -i-    of 3
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             Department of Health and Social Services Notice of Recipient Fair Hearing Rights
             document

  cc:   Maureen Harwood, Health Program Manager IV, Senior and Disabilities Services
        Caitlin Rogers, Health Program Manager III, Senio1· and Disabilities Services
        Fair Hearing Representative, Recipient Services Dept., Conduent, P.O. Box 240808,
        Anchorage, AK 99524, FairHearings@conduent.com
        Bridgett Hites, Care Coordinator, Aurora Advocacy LLC
        Michele Girault, Program administrator, Hope Community Resources, Inc,




                                                                               EXHIBIT_ _
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               THE STATE                                                            Department of
                                                                         Health and Social Services
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                 0
                                                                          SENIOR AND DISABILITIES SERV1CES
                                                                                             Directm•'s Office
                     GOVERNOR BILL WALKER
                                                                                                    5.SO W 811> Avenue
                                                                                               Anchoroge, AX. 99501
                                                                                                · Main; 907 .269 .3666
                                                                                               Toll free: 800.478.9996
                                                                                                     Fax: 907 .269.3668


                                                                           Februaty 12, 2018

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 Subject: Denial ofIDD I:Iome and _Community Based Waiver Service

 RE:                                   DOB: 11/26/1972
                                                                                                                          II
 I am writing regarding the Plan of Care (POC} renewal submitted  oili  -~·eba]ffor services funded under
 t11e Intellectual and Developmental Disabilities (IDD) Medicaid Home ancl Community Based Waiver. On
                                                                                                                          I
                                                                                                                          v


                                                                                                                           I
 January 17, 2018, Senior and Disabilities Services (SDS) received the proposed renewal U1at is attached for
 your review. The following services will be approved as requested:
 Appi·oved

    1. Family Habilltntion: 365 Units (365 days over 52 weeks)
    2. Individual Day Habilitation: 2,496 units (12 hours pet week, 52 weeks)
    3. Hourly Respite: 2,080 Units (10 hours over 52 weeks)
    4. Daily Respite; 14 units (14 days over 52 weeks)


Senior und Disabilities Services (SDS) dt:nies the following item under the authority of 7 AAC 130.217,
and 7 AAC 130.265.

Denie<l
    l. Individual Day Habilitation: 1,664 units (Additional 8 hours per week, 52 weeks)

Regulations can be found at: http://dhss.alaska.gov/dsdslPages/regulationpackage.aspx.

The proposed POC renewal requests the following services: 365 days for 5~ weeks of Family Habilitation,
20 hours per week for 52 weeks of Individual Day Habilitation, 10 hours per w~ek for 52 weeks of Agency
Based Respite, and 14 days over 52 weeks of Agency Based Dajly Respite. Two additional supporting
document~ were provided and were reviewed by the division.




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                                                         Janual)' 3 I, 2018                                         2


       Effective Octo.ber 1, 2017 per regulation 7 AAC l30.260(c), "the department will not pay for more than 624
       hours per year of any type of day habilitation services from all providers combined, unless the Department
       approves a limited number of additional Day Habilitation hours that is requested in a recipient's plan ofcare
       ~ified as necessary to protect the recipient's health and safety and to prevent institutionalization."
       - a m is requesting Day Habi-litation in excess of the regulatory cap and.has not demonstrated that the request
       meets the regulatory requirement, tllerefore 1,664 additional units oflndividual Day Habilitation are denied.
       Ifyou disagree wi1h the decision outlined above, you have the right to appeal the decision. More infonnation
       about requesting a formal appeal and the fair hearing process can be found
       at: http://dhss.alas'ka.gov/dhcs/Documents/publications/Fair Hcarings.pdf. Please see the Department of
       Health and Social Services Notice of Recipient Fair Hearing rughts document enclosed with this letter for
       coutact information on how to scbedule a fair hearing to appeal thls decision.


                                                                  Sincere1y,


                                                                   e_~
                                                                  Esther Hayes                                                I
                                                                  Health Program Manager I
                                                                  Senior and Disabilities Services (SDS)                      I
       Enclosures: Plan of Care/or Plan of Care Amendment                                                                     J
                   Department of Health and Social Services Notice ofReoipient Fair Hearing Rights document
                                                                                                                              l


       co:          Maureen Harwood, Health Program Manager IV, Senior and Disabilities Services
                    Caitlin Rogers, Health Program Manager III, Senior and Disabilities Services
                    Fair Hearing Representative, Recipient Services Dept., Couduent, P.O. Box 240808, Anchorage,              f
                    AJ.(99524,Fab'Hearings@conduent.com
                    Chuck Wright, Care Coordinator, Quintessence Planning and Care Coordination, LLC- DSM                     l
                    Michele Girault, Program Administrator, Hope Community Resources

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DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
Seattle Regional Office
701 Fifth Avenue, Suite 1600, MS/RX-200
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Seattle, WA 98104

Division of Medicaid & Children's Health Operations




March 20, 2018




Valerie Davidson, Commissioner
Department of Health and Social Services
3601 C Street, Suite 902
Anchorage, Alaska 99503

RE: Approval of 1915 (c) Home and Community Based Services (HCBS) Waiver
AK.0260.R05.02

Dear Ms. Davidson:

The Centers for Medicare & Medicaid Services (CMS) is approving Alaska's§ 19 l 5(c) People
with Intellectual and Developmental Disabilities Waiver amendment, CMS Transmittal Number
AK.0260.R0S.02. Please use this number in fut ure correspondence relevant to th is amendment
request.

This amendment, submitted on January 4, 20 18 made the following revisions:

    •   Amends the Brief Waiver Description to clarify the roles of the state and other entities;
    •    Updates Appendix A to reflect the relationship between Senior and Disabilities Services,
        providing waiver services management, and the Commissioner's Office in its role as the State
        Medicaid Plan Director;
   •    Amends Appendix B to include Reserved Capacity in the unduplicated number of individuals, to
        allow transfer from another waiver to this waiver if a recipient's health and safety can no longer
        by guaranteed on the original waiver, and to clarify the processes for selection of applicants and
        evaluating level of care;
   •    Amends Appendix C to remove Personal Emergency Response Systems from Specialized
        Medical Equipment;
 ·· •   Amends Appendix C to avoid duplication between waiver and State Plan services, the applicant's
        initial waiver application and the participant's annual plan of care are removed as care
        coordination waiver services;
   •    Amends Appendix C to include service limits on Day Habilitation;
   •    Amends Appendix G to update critical incident reporting and response procedures, per current
        regulation and practice;
   •    Amends Appendix I to update financial accountability procedures, to reflect current practice;




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 Page 2 - Ms. Davidson

    •   Amends Appendix J to remove utilization estimates for Personal Emergency Response Systems
        from Specialized Medical Equipment; and
    •   Corrects reporting details of several Quality Improvement performance measures in Appendices
        C, D, G and I.

The AK.0260.R0S.02 waiver amendment continues to be cost-neutral and is approved effective
March 20, 20 18.

The CMS appreciates the efforts and cooperation of Alaska's Division of Senior and Disability
Services leadership and staff through out this Waiver amendment review process. If there are any
questions concerning this approval, please contact me or your staff may contact Shante Abarabar
at (206) 615-2346 or via Email at shante.abarabar@cms.hhs.gov.


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                                              David L. Meacham
                                              Associate Regional Administrator



cc:
Duane Mayes, Division Director, Division of Senior and Disability Services
Deb Etheridge, Deputy Director, Division of Senior and Disability Services




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Attachments                ,.....                                        &&                   •.ciih .
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Attachment f/1: Transition Plan
Check the box next to any of the following changes from the cmTent approved waiver. Check all boxes that apply.
 Q Replacing an approved \l'lliver wHh this waiver.
 Q Combining wnivcrs.
 CJ SJ>llttlng one waivc1· into two waive1·s.
 G Eliminating a service.
 Q Arld.i.ng or decreasing au Individual cost limit pertaining to eligibility.
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 IIJ Reducing the unduplicatcd count ofparticipiints (Factor C).
 CJ Adding new, 01· dccrcaslng, a lh11itatio11 on the 11umbc1· of participants scrycd at any point in time.
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 D Mal<lug 1111y changes t.llat could result in reduced scr yices to participants.
Specify the transition plau for ti1e waiver:




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    from:                      Elbendqe Deb J (HSSJ
   io:                         smtth. Elizabeth J (LAW)
   Cc:                         Whittaker, Jetta L (HSS)
   Subject:                    fW: AK"s 0260,0261,0262,0263 waiver amendments
   Date:                       Friday, March 30, 2018 11:20:59 AM




                                                             - - - - - - - -- - - --····------------
   From: Abarabar, Shante L. (CMS/CMCHO) [mailto:Shante.Abarabar@cms.hhs.gov]
   Sent: Friday, March 09, 2018 12:41 PM
   To: Etheridg~, Deb J (HSS)
   Cc: Whittaker, Jetta L (HSS)
   Subject: Re: AK's 0260,0261,0262,0263 waiver amendments


   Than.ks guys!!!



   On: 09 March 2018 13:40,                     .
   "Etheridge, Deb J (HSS)" <deb.ethericlge@alaska.gqy> wrote:

  The State amended the following waivers to comport with regulatory language:

  · AK.0260.ROS.02 (People with Intellectual and Developmental Disabilities)
  · AK.0262.ROS.02 (Adults with Physical and Developmental Disabilities)
  · AK.0263.ROS.02 (Children with Complex Medical Conditions)



  The State amended "or" to "and" in the following sections:
     1) narrative for Day Hab in the Transition Plan located in Main, A. Attachment #1
     2) narrative for Day I-lab service limits
                                                                                             .., ,.. , ... . .... .
                 .. .
              . . . . .. . .   ..

  Deb Etheridge, Deputy Director
  Senior and Disabilities Services
  State ofAlaska
  907-465-5481


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  From: Abarabar, Shante L. (CMS/CMCHO) [maHto:Shante.Abarabar@cms.hhs,qov]
  Sent: Friday, March 09, 2018 11:35 AM
  To: Etheridge, Deb J (HSS)
  Cc: Whittaker, Jetta L (HSS)
  Subject: RE: AK's 0260,0261,0262,0263 waiver amendments

  Appreclate the additional catch and I'll let my CO partner know we can do a final look and move
  these on to management for approval.




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   Again thank you and hopefully the next time I email you regarding the amendments It's to send you
   the approval letter! l I

   -Shante


   From: Etheridge, DebJ (HSS) [mailto:deb.etherid€e@alaska.gov]
   Sent: Friday, March 9, 2018 12:30 PM
  To: Abarabar, Shante L. (CMS/CM CHO) <Shante Abarabar@cms.hhs.gov>
  Cc: Whittaker, Jetta L (HSS) <ietta.whittaker@alaska.gov>
  Subject: AK's 0260,0261,0262,0263 waiver amendments

  Hello, Shante.

  Alaska has amended the following waivers in response to CMS call on 03/08/2018:

  · AK.0260.ROS.02 (People with Intellectual and Developmental Disabilities)
  · AK.0261.ROS.02 (Alaskans Living Independently)
  - AK.0262.ROS.02 (Adults with Physical and Developmental Disabllities)
  · AK.0263.ROS.02 (Children with Complex Medical Conditions)



  Note: when reviewing Appendix C-1 the State realized that the applicable box, "As a waiver service
  defined in Appendix C-3", was not check. The waiver service of care coordination for monthly
  monitoring is furnished as a distinct activity to waiver participants. We made the correction and
  checked the box in C-1.




  Deb Etheridge, Deputy Director
  Senior and Disabilities Services
  State of Alaska
  907-465-5481




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• 4/412018                      Notice of Amendmen(s to Medicaid Waivers and Proposed New Medicaid Waiver - Alaska Online Public Notices




         Notice of Amendments to Medicaid Waivers and
         Proposed New Medicaid Waiver

        PUBLIC NOTICE - REQUEST FOR COMMENTS

        The Department of Health and Social Services, Divlsi'on of Senior & Disabilities Services (SOS) is requesting
        comment from recipients, waiver service providers, and other stakeholders on amendments to Alaska's four.
        home and community based s~rvices waivers and on a new waiver application before these items are submitted
        to the Centers for Medicare and Medicaid Services (CMS).

        The proposed amendments align the Yfaivers with new long term services and supports programs initiated by
        SOS. The proposed Community First Choice (CFC, also known a·s 19 1S(k) program and the Long Term Services
        and_Supports Targeted Case Management (LTSS TCM) State Plan Option w!II be submitted to CMS for approval at
        the same time as the new waiver and waiver amendments are submitted, so that all changes have the same
        effective date.

        The amendments propose to:

          • Remove Personal Emergency Response Systems (PERS) from the service definition of Specialized Medical
            Equipment, as PERS is allowable under CFC. (All waivers)

          • · Remove the initial waiver application and development of a.participant's annual support plan from the
              service definition and rate chart for care coordination, as these tasks will be provided as LTSS TCM. (All
              waivers)


         • Align the service limit for day habilitation with adopteq regulatlons. (All but the Alaskans Living
           Independently waiver)


         • Add reserved capacity slots and clarify the process for selection of entrants to the Intellectual and
           Developmental Disabilities (IDD) waiver.


         • Make technical corrections to several quality improvement measures. (All waive rs)

       The 'proposed Individualized Supports Waiver (ISW) includes these features: .

             Many of the same services and providers available on the IDD waiver

         • An Individual cost limit of $17,500 per year

         • A limit of 600 participants on the waiver at any one time, ·selected from the Developmental Disabilities                              I
                                                                                                                                                     i
                                                                                                                                                     !
           Registration and Review (DORR) ISW waiting list ·
                                                                                                                                                 !   I
       The approved waivers and the proposed amendments, as well as the proposed ISW, can be viewed at


                                                                                                                                                 i I'
       ht tp://9hss.alaska.gov/dsds/Pages/AK-HCBS-walvers.aspx. Copies·of-the proposed amendments and ISW will
       also be availab le for viewing at SOS offices in' Anchorage (S SOW. g th Ave.), Juneau (240 Main St,, Su ite 601) and.
       Fairbanks (400 Gambel l St., Suite 303).
                                                                                                                                                     i
       SOS will accept public comment on these amendments until 5:00 pm November 27, 2017. Please send written                                       l
       comments to Jetta Whittaker, PO Box 110680, Juneau AK 99811, or jetta.whittaker@alaska.gov.
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 4/4/2018                       NoUce of Amendments to Medicaid Waivers and Proposed New Medicaid Waiver - Alaska Online Public Notices

        Attachments                                                            Details
        None                                                                   Department:                 Health and Social Services
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        Revision History                                                       Sub-Category:
       · Created l 0/20/2017 4:07:13 PM by Jlwhittaker                         Location(s):               Statewide
         Modified 10/24/2017 11: l 0:50 AM by Jlwhlttaker.                     Project/Regulation #:

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                                        AADD MEETING
                                     FACE To FACE MEETING
                                        JUNEAU,ALASKA
                                      FEBRUARY 28, 2018


Meeting called to order at 8:30am by Executive Director Lizette Stiehr.

STRATEGIC PLAN- MICHAEL BAILEY
   • S8174, sponsored by Senator Micciche, puts our shared vision into statue. Scheduled to be
     heard tomorrow on the Senate floor.
   • 2016 - 2018 three primary Goals: 1) Advocacy and communication strategy to sustain system,
     2) ongoing workforce crisis, sustain, and 3) Increase MDD sustainability.
   • AADD Board met in January and identified critical issues for 2018 priorities. The current
     strategic plan with FY·18 goals was viewed and is posted on our website.
   • And thank you for active membership. Understanding times are tough, travel budgets tight, and
       it is important to be here.

MENTAL HEALTH TRUST UPDATE - KELDA BARSTAD, JtMAEL JOHNSON
   • Jimael Johnson, Trust Program Officer ls focused on employment and child services. Kelda
       Barstad is forced on housing and long term supports and services.
   • Trust grant funds four primary goals for AADD:
               1) Advocacy for best practices through national presence. S Garner, on ANCOR's
               Representatives Board will attend ANCOR and represent Alaska. K Champney and A
               Faulkner with L Stiehr will present at ANCOR conference in New Orleans.
               2) Change management goal, supporting leadership development in provider
               organizations is offered through Be the Change event ins Anchorage, May 16 - 18 with
               Rockwood Institute.
               3) Agency sustainability is a growing concern with the rapid and profound systems
               changes. Contract supports for tool kit to assist organizations to weather the changes is
               being developed .
               4) Workforce development to support passionate and compassionate DSP's.
   •   Trust housing and long-term supports include funding for special needs housing grants for
       community organizations, housing and homeless coordinators in Anchorage and Fairbanks and
       coordination of homeless services and creation more affordable housing. Long-term services
       and supports is assisting with person centered care coordination and STAR coordinator support.
       Assisting SOS to participate in NCI (national core indicator) project with implementation in in
       Alaska.
   •   Trust also supporting Challenge Alaska to purchase their facility in Alyeska for long term
       recreational support. Supporting children with autism in Anchorage and promoting employment
       first model through work with several departments including Department of labor,
   •   Trust continues to offer mini-grants to Trust beneficiaries with IDD, behavioral health and
       Alzheimer's and dementia.

GOVERNOR'S COUNCIL- PATRICK R EINHART, KRISTIN VANDAGRIFF, ANNE APPLEGATE, MAGGIE W INSTON
   • Employment First update - Job Fair in Anchorage March 30 for the fourth year. A collaboration
                                                                   111

       of DHSS and Labor targeting veterans and folks with disabilities. Alaska is the third state to
       eliminate sub minimum wage.
   •   Supported Decision Making will be a keynote by Anne Applegate at Full Lives. Annual report
       and state five year plan completed
   •   Transition handbook in second printing let Kristin or Ric Nelson if you want addillp~ copies.
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   • DD Vision inspired potential presentation for National Association on Councils on Disabilities
     (similar to ANCOR).
   • The Department has released final regulations related to the bill on re-cycling durable medical
     equipment status.
   • Supported Decision Making agreements and changes to state law are outlined in H8336,
     sponsored by Millet. It will be heard Thursday at 3:30pm.
   • Anne Applegate is working with a number of provider organizations to train staff on Supported
       Decision Making. She is offering trainings for all agencies and care coordinators in multiple
       regions/ hubs: Dillingham, Kenai, Matsu, Fairbanks and Juneau regions. Michelle Girault
       comments that the training is fun and engaging.

DD VALUED SHARED VISION - KIM CHAMPNEY

Kim did a historical review of the Shared Vision and the five working groups.
Priorities to the workgroup on Workforce was the focus of the small group work. They were:

   1. Coordinated Recruitment
   2. Training
   3. Ready to work

Takeaways from the small groups included:
   •  Look at certification (like nursing) with required continued education
   •  Develop a centralized app (like Anchorage School district) with openings and requirements so
      application for differing agencies is consistent could be sent to multiple agencies
   •  Suggested DSP code of ethics be adopted and also AADP code of ethics
   •  Support and robust training and collaborate more and recruit earlier (high school)
   •  Universal recruitment
   •  Awareness and acknowledge need for consistent training - a registry for ready to work. Perhaps
      could be part of Alaska Training Cooperative curriculum.
   •  Need for behavior training
   •  Having good training and support for supervisors
   •  Priorities different between rural and urban

LUNCH (thank you REACH)

STATE OF ALASKA UPDATE - JON SHERWOOD, MARGARET BRODIE, DUANE MAYES, MAUREEN HARWOOD,
LYNNE KEILMAN-CRUZ, CRAIG BAXTER, DONNA STEWART                   .

Jon Sherwood, Deputy Commissioner, Department of Health and Social Services
• Alaska's Medicaid needs a supplemental of 93 million dollars to meet obligations for FY18, Only
   4% of that for Medicaid expansion as the federal CHIP (Child Health Insurance Program) was
   reauthorization. The increase is a combination of caseload growth and expected savings not
   realized from Medicaid Reform. Case load growth is not primarily from individuals in the aged or
   disabled groups, but adults and children. The Department has requested 41 additional positions in
   DPA (Division of Public Assistance) to address the backlog of Medicaid eligibilities and
   reauthorizations. DPA has moved back to a caseload system where those eligible for long-term
   services stay with the same eligibility worker. The Department is working with state ombudsman to
   address complaints about DPA and especially long-term care.

Margaret Brodie, Division Director, Health Care Services

   • Conduent (aka Xerox) is under 17 action plans. Providers will see reduced wait time for calls.
       It is imperative that questions get answers and hold times are reduced. Conduent has
       restructured and is trying to do a better job, some things are better. They've made progress.
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• Harmony is now working with MMIS systems. Alaska signed an agreement for a provider reporting
    module system out of West Virginia for provider reporting module system taking that piece away
    from Conduent An electronic portal for Medicaid revalidation is being obtained allowing for live
    portal entry and information. Pharmacy module is going to Magellan. Surveillance review process
    moves from Conduent effective June and Truben data analytics (strong company) and will be
    dealing with new folks for care management. New system will produce provider data analytics in a
    few days which now takes two or three weeks.
•   Medicaid reform from SB?4 has three reforms still in play, 1) managed care, 2) provider base reform
    and 3) bundled payments. Two are completely ready to go but HCS must award all three at once
    or none at all.
•   Geneva Woods sold their pharmacy and a portion of their DME (durable medical equipment)
    business. They continue to provide some services.
•   Tribal claiming for waivers is being rolled out and can have big savings. There is no change in what
    providers do. Health Care Services staff move coding to 100% federal funding within the system.
    Providers must have a care coordination agreement with the tribal entity in order for CMS to
    recognize the tribal claiming.
•   Enterprise svstem is ready for new ISW waiver services.
•   If supplemental for Medicaid isn't passed the Division is unsure what they will do when funds run
    out at the end of March. They recognize some providers on 100% Medicaid funded. Those services
    that are 100% federal can be reimbursed regardless of supplemental approval.

Duane Mayes, Division Director, Senior and Disability Services, Maureen Harwood, Lynne Keilman-
Cruz, Lisa Morley (grant oversight) and Thea Howard. (reviewer in 100 unit).
•  EVV (Electronic Verification of Visits) is a federal requirement that verifies time and location of
   services when in home. It was passed as the Cures Act in federal congress in 2016 with an
   implementation date of January 2019. If states don't comply (or make substantial progress) there
   is a small reduction in the FMAP (federal matching funds). The reduction would cost Alaska
   approximately 1 million dollars to be out of compliance. SDS had contracted with Allison Lee who
   is developing a recommendation from the Association of Personal Care Serviees with an open
   vendor model. SDS is planning outreach to 15 communities between April and June to educate
   communities and seek input from · stakeholders about the law's Implications. Funding for
   implementation will be an issue and SDS is well aware of provider funding issues. Communication
   will continue through boards AADD, ACoA, Governor's Council and Age Net. SDS plans to request
   a one year extension.                                         ·
•  Harmony is software that has been customized for SOS for automated plans of care. The Harmony
   system went live within SDS in January. Phase one incorporated adult protective services. They
   are now in phase two with plans (but no hard date -hopefully March) to allow care coordinators to
   enter data. Challenges included duplications within the system that are being cleared up. Other
   provider types (organizations) will not be in this phase ..
        Question: Are you going to adjust the number of characters allowed in each section and when
        will it roll out for care coordination? Lynne -Anticipate participation of care coordinators in mid-
        March. Harmony now allows the number of characters as needed. Five attachments can be
        added to each note and care coordinators can add multiple notes.
•  lSW 191 SC (Individualized Supports Waiver). SDS is hopeful that ISW implementation will take
   place by May 2018. Anticipate some plan of care authorizations by June 1. Maxi.mum annual
   amount cannot exceed $17,500. This does not include care coordination costs. Justification needs
   to be the same as IDD waivers.
        Has CMS approved ISW? Not yet. The waiver amendment supporting ISW has been submitted
        to CMS (Center for Medicaid Services). They have requested additional information, but the
        talks are fairly informal around language issues. SDS don't anticipate any problems in gelling
        approval.
•  Grant Funds: 1.4 million dollars were moved from Medicaid (designated to match ISW costs in
   FY18) back to general funds. This allowed disbursement of the $1.4 million back to grantees.

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    Additionally 450K has been set aside for those on grants who don't qualify for Medicaid waiver
    services/I SW waiver.
•   Transition Services SOS is committed to adding transition services to waiver services to support
    transition of individuals from institutions (either API or outside of Alaska) back into the community.
    A small group of providers has been charged with identifying the services needed and sharing that
    information to SOS. API costs $1,214/day. Transition will include children. There is a clear need
    for those transitioning back into the community to have support when behaviors escalate to assure
    they don't return to institutions. Yes per Duane, flexible funds.
•   ROUGH waiver costs (not "scrubbed") between 2016 and 2017 show the following increases
    Care Coordination 8.3% increase                     Residential habilitation 3.25% increase .
•   Day Habilitation update - Hours of day habilitation reduced to an average of 12/hour/week. Since
    2/22/18 a total of 842 Plans of Care have been approved. 13% or 116 of the POC asked for an
    exemption from the regulatory cap. Five of those requests were approved. There have been 17
    requests for fair hearings, with 3 upheld, 2 agre·ements and one dismissed. Others either haven't
    taken place (8) yet or have become legal cases (3)
•   Continuum of care power point, presented to legislature by SOS lays out the history of the waiver
    program with cost savings for community services vs institutional care/lCFIDD/nursing homes.
    Power point is posted on AADD website.
•   Parents can pay for services privately, using sliding scale or charge full amount for day hab,
•   Technology- table for next call iri April. A pilot project is moving forward.
•   Companion services are an area of great interest for SOS but are not currently available. It was
    strongly suggested that services include both individual and group companion services,

 Donna Steward, Executive Director, ORR (Office of Rate Review)
• ORR rebasing rates, not sure when the office will be able to adjust rates due to budget constraints.
    But they plan to be ready when they can move forward. They ha1,1e most of the information they
    need for their rate methodology but still need information on four codes: ADC, meals on wheels,
    congregate meals or transportation. If you offer these services, ORR would be more than happy to
    offer you technical assistance, even coming on site, to assist in completing the cost information.

TOM CHARD- EXECUTIVE DIRECTOR OF ABHA (ALASKA BEHAVIORAL H EALTH ASSOCIATION)
 Tom appreciated the invitation to speak with AADD and sees three opportunities for collaboration:
   1. Transition support services for those with dual diagnosis to partner with AADD and behavioral
      Health providers
   2. Focus on autism services desperately needed by Alaskans with new regulations close to
      promulgation providing an opportunity to bring DD and BH provides together
   3. Workforce crisis for DSPs and midlevel practioners, both have workers who are undervalued
      and change in systems.
   Governor's Council on Disabilities invited Behavioral Health to join their Autism Work Group. Next
   meeting is April 17, 12-4 in AARP conference room.

KEY COALITION UPDATE - DAVE PARISH, KEY LOBBYIST
• Introduced S Henrick, new associate
• Legislative Priorities:
    1) SB174 DD Shared Vision legislation represents what Key Coalition stands for and senators
    appreciate that Key Coalition has come forward with hands up and not hands out past several
    years.
    2) Stable long-term fiscal plan - sources of funding for the budget are limited this year and must
    use PFD to sustain budget. Projections show there's enough PDF percent of market value that
    they use funds to get by and pay dividend for rest of our lives, but no significant opportunity for
    growth or projects.
    3) Reactivate commitment to waitlist
    4) Support S880 deaf, hard of hearing and speech impaired
    5) HB366 Supported Decision Making .
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• Need to educate legislature about waivers and alternatives. Institutional level of care and the
    closure of Harborview committed the state to community services. That is unfamiliar history to 80%
    of legislators.
•   The Governor's has directed the department to look and find cost reductions, particularly with
    Medicaid as the largest budget component with significant growth. Big cost of health care
    conversation going on between the legislature and the Department. The Department is moving
    away from the fee of service model of health care with S874 (Medicaid Reform). The need for a 93
    million supplemental to support Medicaid is a result of taking a leap of faith regarding cost savings
    and cost.efficiencies from Medicaid reform that have not yet materialized.
•   In order to support the need for supplemental Medicaid funding approval Dave Parrish suggests
    sharing information with members of house and senate finance committees.
•   Strategy to have gallery full of supporters for S1374 vote at 1O: 30 am or 11 :0Oam.

AADD INTERNAL BUSINESS

• Please complete evaluation forms
• BE THE CHANGE: Training opportunity May 16-18, 2018. This is follow up to the Leadership ·
    Consortium. There are a few remaining seats available. Contact Kim Champney at
    kim@champneyconsultlng.com or Lisa Cauble at lisa@alaskachd.org. This is your chance to
    rejuvenate and get inspired while building a stronger network of support. Rockwood Institute, and
    Leading Edge Consulting and Champney Consulting will be leading the group. Only 25 participants
    will be accepted. Applications are due by March 27, 2018.

Debrief Issue of the Day - Michael Bailey
1) Supplemental approval request AADD will craft letter to legislative leaders. This is of great
   urgency. Letter will go to committees Monday, March 51h.

2) EW (Electronic Verification of Visits)
Suggested that AADD send a letter to the Senator Murkowski's office supporting a delay in
implementation. Allison says EW is a heavy lift for every state . What is ANCOR doing? Coordinating
with NASUAD's efforts to work with the administration to delay implementation?

3) ISW - Individualized Supports Waiver
Talk with Lisa Morley (if you haven't already) to obtain list of grant folks who have been drawn for the
ISW waiver. Families have not always processed their receipt of letters notifying them of their eligibility
for ISW. Care Coordinators expressed concern about work load. Particularly with fair hearings taking
80 to 100 hours requiring their presence and they don't get paid if plan is not approved or denied.
Concern expressed about responsibilities of care coordination keep increasing and SOS wants to
decrease reimbursement rates and family contact. With the $17,500 limit on ISW waivers the services
will likely be_respite care with some day habilitation.

4) Companion Services
Great need for companion services with reduction of day habilitation. It Is a companionship service
versus habilitative.

5) Day Habilitation
Questions raised about what criteria was used resulting In approval of 5 of the 115 requests for
exemptions to the 12/week cap on day hab. Discussed Disability Law Center services to assist families
in fair hearing._Alaska legal services if also a good support.

6) PCA issues: look at numbers we want to be presenting. What are unintended consequences of
further cuts to PCA services? Let legislators know that folks are getting hurt and reduction in people
getting PCA services has resulted in an increase in nursing home placements. The cost of nursing care

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is increasing while PCA remains about the same. Are group home services increasing with reductions
in supported living authorized?

Key Coalition
          •Total 10 to 15 people at capitol tomorrow morning for 88174 passage in the Senate
          •Please come to Centennial Hall at 8:30 Thursday morning to help decorate. Lt Governor
           Mallat and Commissioner Davison coming to Unity dinner. Orientation is truncated this year
           to allow time for Governor's meeting with Lt Governor Mallat Thursday afternoon 3:30pm .
          •Primary responsibility for each Key Campaigner is talk with legislators.

Adjourned 4:35pm
respectfully submitted by njm/les




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       that a particular kgnlly liable third.party insurer does not pay for the service(s), the provider may not generate further
       bills for that insurer for that annual period.

 G. Fair Hearing: The State provides the opportunity to request a Fair Hearing under 42 CFR §431 Subpart E, to
       individuals: (a) who are not given the choice of home and community-based waiver services as an alternative to
       institutional level of care specified for this waiver; (b) who are denied the service(s) of their choice or the provider(s)
       of their choice; or (c) whose services are denied, suspended, reduced or terminated. Appendix F specifics the State's
       procedures to provide individuals the opportunity to request a Fair Hearing, including providing notice of action as
       required in 42 CFR §431.210.

 H.    Quality Improvement. Tue State operates a formal, comprehensive system to ensure that the waiver meets the
       assurances and 0U1er requirements contained in this application. Through an ongoing process of discovery, remediation
       and improvement, the State assures the health and welfare of participants by monitoring: (a) level of care
       determinations; (b) individual plans and services delive1y; (c) provider qualifications; (d) participant health and
       welfare; (e) financial oversight and (f) administrative oversight of the waiver. The State fu.iiher assures that all
       problems identified through its discovery processes are addressed in an appropriate and timely manner, consistent with
       the severity and nature of the problem. During the period that the waiver is in effect, the State will implement the
       Quality Improvement Strategy specified in Appendix H.

  l. Publk Input. Describe how the State secures public input into the development of the waiver:
       In general, the State secures public input on operational implementation of its waivers and amendments through a
       variety of methods, including:
       • Information-sharing teleconferences and webina.rs with care coordinators and other waiver services providers;
       • Regular communication with the State of Alaska's statutorily-mandated advocacy board, the Governor's Council on
       Disabilities and Special Education, and related advocacy coalitions that comprise the agencies serving recipient
       populations, the Key Coalition and the Alaska Association of Developmental Disabilities, both for people with
       developmental disabilities.
       • Solicitations for interactive presentations to the Alaska Native Health Care Consortium (ANTHC) Long Tenn Care
       Committee.

       Amendments to Alaska's existing four waivers contain changes necessary due to planned implementation of
       Community First Choice and Long Tenn Services and Suppo11s Targeted Case Management state plan amendments,
       along with presentation of a fifth proposed waiver. Accordingly, Tue State posted notice of new regulations,
       amendments to the four existing waivers and the new proposed waiver on October 24, 2017 and issued invitations for
       tribal consultation on all waivers on October 23,2017.

       The State conducted waiver outreach via letters and emails to all tribal organizations, adyertisements in the state's
       largest newspaper on October 24, 2017, Online Public Notice (http://notice.alaska.gov/l 87510) on October 24, 2017,
       and an E-Alert (bttp://list.state.ak.us/pipermail/sds-e-ncws/20 l 7-October/002308.html) sent to 1700+ subscribers on
       the Division of Senior and Disabilities (SDS) email list-serve on October 25, 2017. The E-Alert was then circulated to
       specific membership list-serves by each advocacy group.

       The State also made copies of the proposed amendments to the four existing waivers available to the public at all
       three SDS offices on October, 24, 2017, and posted the proposed waiver amendments
       (http://dhss.alask.a.gov/dsds!Pages/AK-HCBS-waivers.aspx) to the SDS website on October 24, 2017.

        Prior to the public comment period beginning, the State conducted outreach (http://list.state.ak.us/pipermail/sds-e-
      . hews/20 l 7-August/002288.htm) on August 25, 2017, lo announce the upcoming waiver amendments and the
        Individualized Supports Waiver and (http://list.state,ak.us/pipermail/sds-e-news/20 l 7-August/002290.html) on
        August 30, 2017, to announce the upcoming webinars, held on September 6 and 8, 2017. The invitation to a public
        forum (http://list.statc.ak.us/pipennail/sds-e-news/2017-September/002297.html) was issued on September 22,2017,
        and (http://list.state.ak.us/pipennaiUsds-e-news/2017-0ctober/002298.html) on October 3, 20 I7. The putposc of the
        public fornm was to explain the various components of the proposed new waiver, the waiver amendments, and the
        accompanying regulations. The public forum was held on October 4,, 2017.

       These public forums served as a basis for a "Frequently Asked Questions" (http://dllss.alaska.gov/dsds/Pages/AK-
       HCBS-waivers.aspx), document that was posted on the SDS website oo November 15, 2017.

       The proposed amendments to Al_a ska 's four approved waivers generated no public comment.                   EXH lBl T ______
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https://wms-mmdl.cms.gov/WMS/faces/protected/35/p1int!PrintSe...· 4/3/2018
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 From:            Etheridge. Deb J CHSSJ
 To:              Abarabar. Shante L. /CMS/CMCHO): Whittaker. Jetta L /HSSJ: Murray. Jenny A /HSSJ
 Cc:              Shannahan Ryan J. CCMS/CMCS}; Poisal. Kathryn J. /CMS/CMCSl: Kaya!a. Dianne E.CCMS/CMCSJ
 Subject:         RE: AK"s 0260,0261,0262,0263 waiver amendments follow-up questions and comments (Informal RAI)
 Date:            Friday, March 02, 2018 2:57:36 PM


 Hello, Shante.


 See attached State response to CMS Informal RAI for the following waiver amendments:


 · AK.0260.ROS.02 (People with Intellectual and Developmental Disabilities}
 · AK.0261.ROS.02 (Alaskans Living Independently)
 · AK.0262.ROS.02 (Adults with Physical and Developmental Disabilities)
 · AK.0263.ROS.02 (Children with Complex Medical Conditions)



Deb Etheridge, Deputy Director
Senior and Disabilities Services
State of Alaska
907-465-5481



From : Abarabar, Shante L. (CMS/CMCHO) [mailto:Shante.Abarabar@cms.hhs.gov]
Sent: Wednesday, January 31, 2018 2:47 PM
T o : Etheridge, Deb J ( HSS); Whittaker, Jetta L (HSS); Murray, Jenny A (HSS)
Cc: Shannahan, Ryan I. (CMS/CMCS); Poisal, Kathryn J. (CMS/CMCS); Kaya la, Dianne E.(CMS/CMCS)
Subject: AK's 0260,0261,0262,0263 waiver amendments follow-up questions and comments (Informal
RAI)

Hello Deb, Jetta, and J eony.

The CMS (CO & RO components) are revie'-'iing the state's 1915(c) waiver amendment
subm.ittal(s):

· ,\K.0260.R0S.02 (People with Intellectual and Developmental Disabilities)
· AK.0261.R0S.02 (Alaskans Living Independently)
· AK:.0262.R0S.02 (Adults with Physical and Developmental Disabilities)
· AK.0263.R0S.02 (Children with Complex Medical Conditions)

As part of this review, please see the attached follow-up questions and comments (Informal RAI)
that the state should address in writing (response sent to
C:MSSP,\ \\'.'.'aivers Seattle RIO@cms.hhs.gov and updated (where applicable) in \ThIS - no later
than February 23, 2018) .

The waiver amendments are released to the state in \"VrvIS so Alaska staff can make the necessary
changes to the waiver application.

Please contact me immediately if the state is unable to meet the above deadline and if you have
any questions or would like to set up a call to discuss the follow-up questions, please feel free to

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contact me at 206-615-2346 or Shante.Abarabar@cms.hhs.gov.

Thank you
-Shante Abarabar




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All Waivers


        1.    Public input: Please indicate the date(s) materials were published and made available for
              public comment.

Response: The State posted notice of new regulations, amendments to the four existing waivers
and the new proposed waiver on October 24, 2017 and issued invitations for tribal consultation
on al! waivers on October 23, 2017.

The State conducted waiver outreach via letters and emails to all t ribal organizations,
advertisements in the state's largest newspaper on October 24, 2017, Online Public Notice
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to announce the upcoming waiver amendments and the Individualized Supports Waiver and
{http://list.state.ak.us/pipermail/sds-e-news/2017-August/002290.htm/) on August 30, 2017,
to announce the upcoming webinors, held on September 6 and 8, 2017. The invitation to a
public forum (http://list.state.ak.us/pipermail/sds-e-news/2017-September/002297.html)
was issued on September 22, 2017, and(http://Jist.state.ak.us/pipermail/sds-e-news/2017-
October/002298.html) on October 3, 2017. The purpose of the public forum was to explain the
various components of the proposed new waiver, the waiver amendments, and the
accompanying regulations. The public forum was held on October 4,' 2017.

These public forums served as a basis for a "Frequently Asked Questions"
(http://dhss.alaska.gov/dsds/Paqes/AK-HCBS-waivers.aspx) document that was posted on the
SDS website on November 15, 2017.

This information has been entered into each waiver amendment.




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      4.    Appendix C, Day Habilitation - Service Limits (not applicable for AK.0261):
               a.   How was the 624 hour cap calculated and what steps will t he st at e t ake t o ensure
                    that the individ ual's needs can be met within the limit?
               b.   Is t he state cu rrent ly serving any participants wit h needs that exceed t he limit?
               c.   W hat criteria will t he state use to determine w hether a request to exceed t he limit
                    is sufficien tly j ustified in t he plan of care?
               d. How will the state meet the needs of any participant (current or new) that need
                  more than t he new proposed limit?
               e. Please r emove: "The t ransition t o the cap .... person-centered planni ng process," as
                  t his should be described in the Purpose of Amendment section and does not need
                  t o be detailed in t he service definition.

Response:

               a.      The State originally proposed a "soft cap" of eight hours of day
                       habilitation per week in regulations put forth for public comment. The
                       proposed cap of eight hours was based on review and analysis of
                       habilitation goals contained in support plans for people on the /DD waiver.
                       In response to public comment, the cap amount was annualized, which
                       allows for seasonal variation in utilization of day habilitation. Public
                       testimony made to legislators resulted in an increase in funding fo r up to
                       12 hours per week (or 624 hours per year}. Analysis of claims payment
                       data indicated that the vast majority of day habilitation recipients
                       received_ less than 12 hours per week of day habilitation, meaning that the
                       soft cap is unlikely to affect most recipients.

                       The cap on day habilitation is being implemented at the time of support
                       pion renewal, as reviewers closely analyze the goals identified when




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                                 requesting day habilitation. The State has seen a slight increase in
                                 requests for additional hours of Supported Living and In Home Supports
                                {both are types of residential habilitation) since the implementation of the
                                day habilitation cap.
                           b.   The State has approved several support plans that documented the need
                                to receive day habilitation in excess of the cap. The State also has several .
                                requests for Fair Hearings on day habilitation reductions.
                           c.   Requests for service amounts exceeding the yearly cap are reviewed by
                                SOS to determine whether a limited amount of additional day habilitation
                                hours are necessary to protect a participant's health and safety, and to
                                prevent institutionalization as regulated under 7 AAC.130.260{c).
                           d.   Day habilitation service requests are evaluated in context of the
                                participant's identified goals, overafl level of waiver services, and other
                                supports and services available to the individual.
                           e.   The sentence identified in e. above will be added to the Purpose of
                                Amendment section and removed from the service definition for day
                                habifitation in Appendix C-1 of each proposed waiver amendment.




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